     Case 3:14-cv-00250-VLB Document 134-37 Filed 04/01/16 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


EDIBLE ARRANGEMENTS, LLC, a
Connecticut limited liability company,
and EDIBLE ARRANGEMENTS
INTERNATIONAL, LLC, a Delaware               Case No. 3:14-cv-00250
limited liability company,
                                             Hon. Vanessa L. Bryant
      Plaintiffs,
v.

PROVIDE COMMERCE, INC., a Delaware           April 1, 2016
corporation,

      Defendant.



                    NOTICE REGARDING EXHIBIT


     Please take notice that the undersigned has requested leave of
the court to file the following exhibit under seal. The exhibit has not
been redacted and has not been filed electronically because the entire
contents of the exhibit contains confidential and/or attorneys’ eyes
only information.


                                  EXHIBIT KK

                     adMarketplace Terms and Conditions




                                         1
      Case 3:14-cv-00250-VLB Document 134-37 Filed 04/01/16 Page 2 of 2



                                   Respectfully submitted,

                                   BROOKS KUSHMAN P.C.

                                   /s/ Chanille Carswell
Dated: April 1, 2016               MARK A. CANTOR – Pro Hac Vice
                                   (MI Bar No. P32661)
                                   MARC LORELLI – Pro Hac Vice
                                   (MI Bar No. P63156)
                                   CHANILLE CARSWELL – Pro Hac Vice
                                   (MI Bar No. P53754)
                                   Mark A. Jotanovic – Pro Hac Vice
                                   (MI Bar No. P73752)
                                   1000 Town Center, Twenty-Second Floor
                                   Southfield, Michigan 48075
                                   Tel: (248) 358-4400 / Fax: (248) 358-3351
                                   Email: mcantor@brookskushman.com
                                           mlorelli@brookskushman.com
                                           ccarswell@brookskushman.com
                                           mjotanovic@ brookskushman.com

                                   KEVIN WALSH
                                   WILLIAMS, WALSH & O’CONNOR, LLC
                                   37 Broadway
                                   North Haven, CT 06473
                                   Tel: (203) 234-6333 / Fax: (203) 234-6330
                                   Email: kwalsh@wwolaw.com
                                   Fed. Bar. No. ct02116

                                         Attorneys for Plaintiffs




                                     2
